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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION

NICOLA WARR,                        )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )                 Civil Action No. 3:15-cv-00642-DJH
                                    )                 (Filed Electronically)
TOWN AND COUNTRY FORD, LLC, )
                                    )
      Defendant.                    )
____________________________________)

                             AGREED ORDER OF DISMISSAL
                             WITH PREJUDICE TO REFILING

                                  *      *       *         *    *

       This matter having come before the Court upon agreement of Plaintiff Nicola Warr

(“Plaintiff” or “Ms. Warr”), and Defendant Town and Country Ford, LLC (“Town and Country

Ford” or “Defendant”), as evidenced by the signatures below of their respective counsel, to effect

a full and final dismissal, with prejudice, of each and every of Ms. Warr’s claims against Town

and Country Ford, and the Court being otherwise sufficiently advised,

       IT IS HEREBY ORDERED that each, every, and all claims herein of Plaintiff’s directed

at Town and Country Ford in the above-captioned matter are dismissed, with prejudice to

refiling, and with each party to assume its own costs, meaning that any and all of Plaintiff’s

claims against Town and Country Ford are hereby extinguished for all time.



                                              ____________________________________
                                              JUDGE DAVID J. HALE
                                              UNITED STATES DISTRICT COURT
                                              WESTERN DISTRICT OF KENTUCKY,
                                              LOUISVILLE DIVSION
                                              DATE:______________________________



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HAVE SEEN AND AGREED TO:


 /s/ James Craig__________________
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Counsel for Defendant

                                CERTIFICATE OF SERVICE

        On October 26, 2015, I electronically filed this document through the Court’s ECF
system, which will send a notice of electronic filing to all counsel designated to receive
electronic notice in this case.

                                                    ___/s/ James Craig____________
                                                    Counsel for Nicola Warr




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